                          Case 1-22-41041-ess                  Doc 3-1         Filed 05/13/22      Entered 05/13/22 16:38:42

    Fill in this information to identify your case:


    Debtor 1           LEVI                                     BALKANY
                      __________________________________________________________________
                        First Name               Middle Name              Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name               Middle Name              Last Name


                                            __________
    United States Bankruptcy Court for the: Eastern District of New
                                                          District     York
                                                                   of __________

    Case number         ___________________________________________
    (If known)

                                                                                                          Check if this is an amended filing


Official Form 122A─1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                          12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).



Part 1:          Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

         No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
              submit this supplement with the signed Form 122A-1.
         Yes. Go to Part 2.


Part 2:          Determine Whether Military Service Provisions Apply to You


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?

    No. Go to line 3.
    Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).

                  No. Go to line 3.
                  Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                              Then submit this supplement with the signed Form 122A-1.

3. Are you or have you been a Reservist or member of the National Guard?
     No. Complete Form 122A-1. Do not submit this supplement.
     Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
        No. Complete Form 122A-1. Do not submit this supplement.
        Yes. Check any one of the following categories that applies:
                    I was called to active duty after September 11, 2001, for at least         If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                         Form 122A-1. On the top of page 1 of Form 122A-1,
                                                                                                check box 3, The Means Test does not apply now, and
                    I was called to active duty after September 11, 2001, for at least
                                                                                                sign Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                                Form 122A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                                Official Form 122A-1 during the exclusion period. The
                    I am performing a homeland defense activity for at least 90 days.          exclusion period means the time you are on active duty
                                                                                                or are performing a homeland defense activity, and for
                    I performed a homeland defense activity for at least 90 days,              540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days
                                                                                                If your exclusion period ends before your case is closed,
                     before I file this bankruptcy case.
                                                                                                you may have to file an amended form later.


Official Form 122A-1Supp                     Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
               Print                          Save As...                 Add Attachment                                                       Reset
